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                IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF OREGON


UNITED STATES OF AMERICA,                                 No. 3:19-cr-00429-SI-1
                                                              3:19-cr-00596-SI-2
                              Plaintiff,
                                                 JOINT MOTION TO AMEND
         v.                                               PLEA AGREEMENT
                                                  (to correct mutual mistake)
JOSEPH LUCIO JIMENEZ,

                            Defendant.

         Joseph Jimenez, Defendant in the above-entitled cases, and the

government jointly move to amend the Plea Agreement in this case (in case

#3:19-CR-00429-SI, docket entry # 28; in case #3:19-CR-00596-SI, docket

entry #36) to correct a mutual mistake regarding the application of the

advisory Guidelines in these cases.



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         In paragraph 7 of the Plea Agreement it is noted that “the parties agree

that pursuant to USSG § 2D1.1(c)(14), defendant’s Base Offense Level is 14

(less than 10 grams of heroin).” In fact, pursuant to USSG § 2D1.1(c)(14),

less than 10 grams of heroin is assigned Base Offense Level 12.

         Accordingly, the parties seek an amendment striking “14” and

replacing it with “12” in the first sentence of paragraph 7. In addition, the

amendment should delete the phrase in the fifth sentence “and that the

controlled substances guideline will control for purposes of calculating the

overall advisory guidelines range,” because, after amendment, the two

offenses have the same Offense Level, namely, Level 14, before any reduction

for acceptance of responsibility or other variance.

         This Motion is filed by counsel for Mr. Jimenez, Francesca Freccero, on

behalf of the parties jointly, after conferring with AUSA Craig Gabriel on

behalf of the United States.

         Respectfully submitted on August 4, 2020.


                                       /s/ Francesca Freccero
                                       Francesca Freccero
                                       Assistant Federal Public Defender




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